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                 THE DEFINITIVE HISTORY: EVOLUTION OF THE
                        HELLS ANGELS MOTORCYCLE CLUB
                             INSIGNIA AND CORPORATION
       In March 2017, just before the Sixtieth Anniversary of the Oakland Hells Angels Charter,
several of the longest serving Hells Angels Motorcycle Club members reviewed Club and
Corporation records, worked with our lawyer to prepare sworn declarations, and set down for
posterity the truth and nothing but the truth about the evolution of the iconic insignia of the Hells
Angels. Members that gave testimony were: Ralph “Sonny” Barger, Gordon Gary “Flash”
Grow, Robert Poulin, and John “Fuki” Fukushima. Here is that history:

       The first Hells Angels motorcycle club, “Hells Angels Berdoo” was founded in March
1948 in the Fontana/San Bernardino, California area. One of its founding members was William
Charles “Bill-Rocky” Graves (“Rocky Graves”) who was a World War II veteran. However, it is
a myth that our Club founders were part of the 303rd Hell’s Angels Bomber B-17 Group from
World War II. Extensive research has confirmed that there was no lineage between the 303rd
Hell’s Angels Bomber B-17 Group and the Hells Angels Motorcycle Club other than that they
shared the same name. The term “Hell’s Angels” had been bouncing around the military as far
back as World War I, when a fighter squadron first took on the name. Before World War II, a
group of mercenary war pilots called the “Flying Tigers” flew for the Chinese, and one of their
squadrons called themselves “Hell’s Angels.” During World War II, a few groups called
themselves Hell’s Angels, including an American Air Force bomber company stationed in
England, the 358th Bomber Squadron, and a Navy torpedo squadron.

       Initially, Hells Angels clubs in California were only loosely affiliated, but stayed in
communication with and respected one another. During the 1950’s, the Hells Angels clubs then
in existence in California, such as Hells Angels Berdoo, Hells Angels Frisco, Hells Angels So.
Cal., and Hells Angels Oakland, joined into one motorcycle brotherhood: The Hells Angels
Motorcycle Club. The Hells Angels Motorcycle Club (the “Club”) has used the HELLS
ANGELS name in commerce continuously since 1948.

       After the Hells Angels Motorcycle Club was formed, then-existing individual clubs became
charters of the Club. Officers of the Club’s Charters, such as Hells Angels Frisco, Hells Angels
Oakland, Hells Angels Berdoo, and Hells Angels So Cal, began meeting together as a Board of



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Directors for the Club. Decisions made by that Board were binding on the California Charters, and
all Charters had to approve the admission of any new Charter. The Board of Directors established
Restrictive guidelines about how the various Charters’ membership cards and membership
insignia, such as the Death Heads and Patches could be used and displayed. Membership patches,
worn on the back of jackets, vest and the like only by Club members, with top rockers, bottom
rockers, and a Charter’s “Death Head” and small “MC” in between the rockers, were commonly
referred to as the “colors”. Death Head designs are described in more detail below, and were
always and only used to signify membership in a Charter and the Club.

       Over time, more Hells Angels charters were admitted in California. The first Charter
outside California was in Omaha, Nebraska; the second was in Lowell, Massachusetts. Barger.

       The Club began to develop internationally in 1961, when the first charter in Auckland,
New Zealand was admitted. During the 1960’s, the Club also spread to other states of the United
States. In 1969, the first European Club charter was admitted, in London, England. Today there
are more than 250 official Club charters in Europe. At the end of the 1970’s, Australian Club
charters were admitted, and, in 1984, Rio de Janeiro, Brazil became the first South American Club
charter. In 1993, Club charters were admitted in the African continent. A charter in Turkey
became the first Muslim country to join the Club in 2009. Today the Club has spread its wings all
over the globe.

EVOLUTION OF THE HELLS ANGELS INSIGNIA
       The Original Death Head of Hells Angels Berdoo
       In 1948, Hells Angels Berdoo members used a small design with a skull, helmet, and two
wings for its membership insignia. That logo became known later by Club members as the
“Original Death Head”. A true and correct copy of the Original Death Head is below; it is
distinguished by its double wings, a rounded eye, and an open mouth:




                                              The Original Death Head



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       The Original Patch of Hells Angels Berdoo

       In 1948, Hells Angels Berdoo members also began using a membership insignia that
consisted of “HELLS ANGELS” in the “upper rocker”, the Original Death Head in the center,
and “BERDOO” in the “bottom rocker” (the “Original Patch”). Minor variations in the Original
Patch occurred because they were hand sewn. A photo from Life Magazine showing Hells
Angels Berdoo members wearing the Original Patch is as follows:




                                                               The Original Patch

       The Modified Original Death Head of Hells Angels Frisco (Heart-Shaped Eye)
       In 1953 or 1954, Rocky Graves organized a San Francisco, California, Hells Angels
charter known as “Hells Angels Frisco”. In 1955, the Hells Angels Frisco reorganized with
thirteen charter members, including Frank Sadilek, who served as President. Around that time,
Hells Angels Frisco members created a modified version of the Original Death Head (the
“Modified Original Death Head”). Like the Original Death Head, it too was relatively smaller in
size when it was used in the membership patch, compared to the size of the Fuki Death Head as
used in the current Membership Patch. A true and correct copy of the Modified Original Death
Head is below. It too had double wings, and is distinguished from the Original Death Head by
the heart-shaped eye:




                                                Modified Original Death Head


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       The Smaller Death Heads

       Both the Original Death Head and the Modified Original Death Head were later referred
to as the “Smaller Death Head”. Both of the Smaller Death Heads had two wings.

       The Original Frontview Death Head

       Another derivative of the Original Death Head is known as the “Original Frontview
Death Head”. A true and correct copy of the Original Frontview Death Head is below.




                                                 The Frontview Death Head
       The Original Frontview Death Head was created by Lurch Burkett, a member of the Hells
Angels Oakland Charter for “USA Motorcycle Run #1” t-shirts. The Original Frontview Death
Head was created for and on behalf of Hells Angels Oakland, and at its instance and expense,
under its supervision and subject to its approval, and Hells Angels Oakland owned all rights,
title, and interest in and to the Original Frontview Death Head upon its creation, and used in
commerce only between and among members as an indicia of membership in the Club of
motorcycle enthusiasts, and not supplied whether by sale or otherwise to the public. The Hells
Angels Motorcycle Corporation (“World Corp”) has registered its trademark rights in the
Original Frontview Death Head in Canada and Australia. The Original Death Head Mark as
registered in Australia is modified slightly. A true and correct copy of the Original Death Head
Mark as registered in Australia is below:




                                            Australia Front View Death Head



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         The Membership Card
         In 1954, Hells Angels Frisco hired an artist to create a membership card (hereafter, the
“Membership Card”). A true and correct copy of a blank Membership Card is shown below:




                                                                           The Membership Card

         During 1953 and 1954, members of Hells Angels Frisco frequently hung out and had
meetings at Rialto pool hall on the northeast corner of 7th and Market Street, San Francisco,
California during the years 1953 and 1954 and later. They got to know a tattoo artist who also
hung out in that same pool hall who went by the name “Sundown”. Sundown was a tattoo artist
whose shop was in the same building as the pool hall located at 7th and Market Streets in San
Francisco. Sundown’s real name was Bob Kistner.1 One living person who was a member of
Hells Angels Frisco at that time remembered Sundown, and helped us establish his real name.

         Hells Angels Frisco members had ideas about what the membership card should look like
and they had examples of the Patches Club Charters then in California were using. One patch
had a skull wearing an aviation helmet with wings. They knew how they wanted the
membership card to look, but they were not artists and could not draw it. The members knew
Sundown, from the tattoo shop in the same building as the pool hall where they met, could draw.

         On September 9, 1954, Hells Angels Frisco decided to hire Sundown to help them put
their ideas about a membership card into a graphic form that could be printed for each Charter




1
  Listings in Polk’s San Francisco City Directory, published in 1953, identified the pool hall as Rialto Billiards with
the address of 1138a Market Street, San Francisco, CA. Rialto Billiards was where Hells Angels Frisco members
met Sundown. Contained within Polk’s San Francisco City Directory 1953 is the listing for “Kistner, Robt D.
Tattooing” with an address of 1138 Market Street, San Francisco, California.


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member. The minutes of the Hells Angels Frisco Charter’s meeting held on September 9, 1954,
state, in pertinent part:

         “It was decided that Sundown was to receive $2.50 for artwork on our club cards – and
         that he would be allowed three clean, unvoided cards for display purposes in his business.”

        Sundown provided only technical illustration services that would allow the membership
card to be reproduced for and on behalf of Hells Angels Frisco, and at its direction, insistence,
and expense. He worked under Hells Angels Frisco’s close supervision. Hells Angels Frisco
members reviewed the rough sketches that Sundown created, made comments and Sundown
changed the drawing to their specifications. Hells Angels Frisco approved the final design.
Hells Angels Frisco owned and its successor, the World Corp, owns all rights, title, and interest
in and to the Membership Card. Sundown did not retain any rights, title or interest in the
Membership Card except the very limited right to display the Membership card in his business as
an example of his skills.

        After the Membership Card was created other Charters’ members began using it as well.
The body of each Membership Card was as above, except for a small section that ran the length
of the left-hand border, where the Member’s “Charter” affiliation was identified. True and
correct copies of “activated” Membership Cards are below.




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       The Hells Angels So. Cal. Patch
       In the late 1950’s, with permission, the Hells Angels So. Cal. Charter used a Death Head
design with only one wing, like the Death Head on the Membership Card, with colors added.
True and correct depictions of the Hells Angels So. Cal. Patch are as follows:




                                                                      Hells Angels So. Cal. Patch

       Oakland Hells Angels Original Patch
       Originally, Oakland Hells Angels used a membership insignia Patch that included the
Hells Angels Frisco Original Death Head in the middle. A true and correct copy of that Hells
Angels Oakland Patch follows:




                                             Original Oakland Charter Patch


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       The Barger Larger Patch (8 and 8 Feather Points)
       In 1959, Ralph “Sonny” Barger was President of the Oakland Hells Angels. With
permission and approval of Hells Angels Frisco and Hells Angels So Cal, he used the Sideview
Death Head from the Membership Card to create a new Death Head for Hells Angels Oakland to
wear as a “Patch” on jackets or vests as an indicia of membership in the Oakland Hells Angels.
Another Oakland Hells Angels member, John “Johnny A” Palomar, and Barger used an opaque
projector to project the Membership Card on the wall to the size they wanted it for a Patch and
traced the Death Head. Barger added colors like those used by Hells Angels So Cal and worked
with a company that did embroidering to get satisfactory thread colors and created the final Hells
Angels Oakland Death Head. This version of the Death Head became known as the “Barger
Larger”. The Barger Larger Death Head is distinguished by its being larger than the Original
Death Head relative to the top and bottom rockers in the Patch configuration, it has a single
wing, and it has two sets of eight (8) feather tips along the bottom border. A true and correct
copy of the Barger Larger Death Head design is as follows:




                                                       The Barger Larger Death Head

       The Betty Patch
       At and around this time, all Patches were hand-sewn and there were some variations
based on who did the sewing. A Death Head based on the Barger Larger was sewn by a woman
named Betty, and it became known as the Betty Patch. A true and correct copy of the Betty
Patch Death Head is as follows:




                                                               The Betty Patch


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       The Fuki Death Head (9 and 8 Feather Points)
       In 1983, as part of standardizing the brand, the “Fuki Death Head” was created in a
digital form that would help eliminate the natural variations in patches that resulted from them
being hand-made. The member who created that version of the Death Head using computer tools
to create a digital version assigned all rights, title, and interest in and to it to World Corp. The
Fuki Death Head is distinguished from the Barger Larger because it has seventeen (17) feather
points along the bottom border, in one set of nine (9) and one set of eight (8). The Barger Larger
Death Head has sixteen (16) feather points along the bottom border, in two sets of feathers with
eight (8) feather points each. A true and correct copy of the Fuki Death Head is below, as is a
true and correct copy of the Fuki Death Head as embroidered in Patch form. Use of gray thread
in the feathers is a permitted variation.




       The Fuki Death Head                               The Fuki Death Head Patch

       The USA Patch Layout
       In 1983, as part of standardizing the brand in the United States, the standard Patch Layout
Pattern was created. A true and correct copy of the Patch Layout Patten, containing the Fuki
Death Head, is as follows:




                                                            The USA Patch Layout




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       The World Club Patch
       In a world meeting in August 1990, Club members decided that every Club member
would wear the same Club patch based on the Patch Layout Pattern and that the Fuki Death Head
would be the standard Death Head for use in the Club Patch (the “Patch”). A true and correct
copy of the Patch is shown below:




                                                     The World Club Patch

       The Patch was created for and on behalf of Hells Angels of the United States, Inc., at its
expense, and under its supervision and approval, and Hells Angels of the United States, Inc.
owned and its successor World Corp owns all rights, title, and interest in and to the Patch. Only
licensed vendors are permitted to create the embroidered Patches.

       At all times since the creation of the Patch, Hells Angels of the United States, Inc. and
then World Corp and its predecessors have imposed extremely restrictive guidelines that prohibit
any and all copying or use of the Patch by anyone for any purpose other than to signify
membership in the Club. Every Club charter and member has been and is bound to these very
restrictive rules. Distribution and display of copies of the Patch, and licensed rights to create
copies of the Patch and to wear it, have been permitted only to Club Members and then for use
only as an indicia of membership in the Club.

       A more recent image of a Club member wearing the Patch correctly is as follows:




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EVOLUTION OF THE WORLD CORPORATION
       On June 26, 1966, the Club started to get ready to incorporate the Hells Angels.

       On August 6, 1966, Club members voted to create a nonprofit corporation referred to
informally in discussion as “Hells Angels MC California.” Also on that day, I was elected
chairman of the Board of the still unincorporated association.

       The primary purpose of the nonprofit corporation would be to own, license, and protect
the intellectual property of the Club, such as the Membership Card, the Death Heads described
above, Patches, the “Colors”, and all derivations of them (hereafter, the “HAMC IP”).

       It took several years of discussion to decide exactly how the corporation would be
formed. During that time, the Board of the Club oversaw and enforced the very restricted use of
the HAMC IP.

       On November 30, 1968, one of the Board members, Robert (Bob) Roberts, took
responsibility for having our Large and Small Death Heads “patented.” It took quite some time
before that actually happened.

       Up through 1969, U.S. Club members utilized the Original Death Head, the Modified
Death Head, the Hells Angels So Cal. Patch, and the Larger Barger in Patches and otherwise as
their membership insignias. Only the Board of Directors of the unincorporated Club could grant
new Charters the right to use any of the Hells Angels Insignia. For example, on August 23,
1969, director Bob Roberts gave his signed approval for England’s use of a small Death Head,
and as President, I gave my signed approval for its use of the Barger Larger Death Head.

       On June 28, 1969 the Club decided that no inactive members can wear membership
insignias such as the Death Heads and Patches.

       On June 20, 1970 the Club voted at a meeting to prevent non-members from using the
trademark “Hells Angels” and it was noted that if non-members refuse to stop using “Hells
Angels” after being notified they could be sued.

       On September 2, 1970 Hells Angels Frisco incorporated as a nonprofit corporation called
“HELLS ANGELS OF SAN FRANCISCO, INC.”



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       The Club decided to have a nonprofit corporation own all Hells Angels Insignia
worldwide so that no private individual or company would own Hells Angels Insignia and so that
Hells Angels Insignia would be used and managed for the benefit of Club Charters and members
and not for private profit or gain.

       At or around that time, Club members from all the Charters began to refer to Hells
Angels of San Francisco, Inc. as the “Corporation” and all members and Charters agreed that the
Corporation would manage, oversee, and enforce all the Hells Angels Insignia, including all the
small and large Death Heads, the Patches, and the Membership Cards. The Corporation did in
fact thereafter manage, oversee, and enforce the rights in and to all the Hells Angels Insignia
internationally, including being the only one that could grant new Charters the right to use any of
the Hells Angels Insignia.

       In 1971 or 1972, a lawyer in Los Angeles set up The Hell’s Angels Motorcycle Club, Inc.
as a for profit corporation and registered this Death Head as trademark for that corporation:




       Setting up that for profit corporation and registering the Death Head as a trademark
owned by it was a mistake that we, as directors acting for and on behalf of the Club, straightened
out. That for profit corporation was dissolved. The trademark registration was assigned to Hells
Angels, Frisco, Inc. in 1975 via a recorded Assignment, a true and correct copy of which
recorded Assignment is attached hereto as Exhibit RSB2. That registration is now dead.

       On May 4, 1973, Hells Angels of San Francisco, Inc. changed its name to HELLS
ANGELS, FRISCO, INC.

       On October 3, 1981 the Club voted to change the name of Hells Angels, Frisco, Inc. to
HELLS ANGELS OF THE UNITED STATES, INC., with me as chairman of its Board, and
decided that the Corporation would use the Hells Angels Oakland clubhouse’s address. The
Corporation continued to be a nonprofit corporation.



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       In and around October 1981, Club Charters and Club members who had participated in
creating any of the Hells Angels Insignia agreed that the nonprofit corporation (then named
HELLS ANGELS OF THE UNITED STATES, INC.) would own all copyrights, trademarks and
other intellectual property and all intellectual property rights of the Charters, including but not
limited to the Original Death Head, the Original Patch, the Modified Original Death Head, the
Hells Angels So Cal Patch, the Membership Card, the Barger Larger Death Head and the Betty
Patch. By oral agreement, which was fully and legally binding on all the Charters and members
at that time, all the Hells Angels Insignia was assigned into the Corporation, then Hells Angels of
the United States, Inc.

       On July 25, 1983, HELLS ANGELS OF THE UNITED STATES, INC. changed its name
to HELLS ANGELS MOTORCYCLE CLUB, INC.

       On November 13, 1984, HELLS ANGELS MOTORCYCLE CLUB, INC. changed its
name to HELLS ANGELS MOTORCYCLE CORPORATION, amended its purposes, and
changed its status from a “public benefit” nonprofit corporation to a “mutual benefit” nonprofit
corporation. HELLS ANGELS MOTORCYCLE CORPORATION is the current name of the
Corporation, and which is referred to throughout this Declaration as the “World Corp”.

       On April 10, 2003, the World Corp formed a separate domestic nonprofit corporation in
Nevada with the name of HELLS ANGELS MOTORCYCLE CORPORATION, Nevada
Corporation No C8536-2003. The California nonprofit corporation continued to exist, but was
left dormant for a time.

       In 2003 and 2004, the World Corp assigned some trademarks owned by HA-IP Corp-
World to HAMC-NV.

       On December 31, 2008, all rights, title and interest in and to the trademarks that were
assigned to HAMC-NV were assigned back to the World Corp, as were other HAMC-related
trademarks that HAMC-NV had registered or applied to register while in existence.

       On March 26, 2009, HAMC-NV was dissolved and all operations were thereafter and all
time since have been conducted by the World Corp, a California mutual benefit nonprofit
corporation.



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       The direct successor-in-interest of Hells Angels Frisco is the World Corp. The World
Corp is active and in good standing as a California mutual benefit nonprofit corporation.
Importantly, there are no private shareholders or owners and no private equity in the corporation.
Rather, it is managed by a Board of Directors, elected by the World membership for the mutual
benefit of the World members and Charters.

       The World Corp’s specific purpose is to “exercise legitimate control over the use of, and
licensing for, the various trade, service and collective membership marks utilized by various
independent motorcycle chapters organized under the laws of various states and/or foreign
countries.” Amended and Restated Articles of Incorporation, Section 2.2

       The World Corp owns all Hells Angels Insignia and Hells Angels intellectual property.

OWNERSHIP OF THE HELLS ANGELS INSIGNIA AND RESTRICTIONS ON USE:
       The Original Death Head, the Original Patch, and related intellectual property (“HAMC
IP” or “Hells Angels Insignia”) were created by members of the Charters, or in the case of the
Membership Card, by an artist hired by the Charter, for and on behalf of their Charter, at their
Charter’s instance and expense, under their Charter’s supervision and subject to their Charter’s
approval. They did not create the Death Heads, Patches, or other HAMC IP for their own personal
accounts or private profit, but rather for the benefit of their brothers, their Charters, and the Club.
The Hells Angels Death Heads, Patches, and Membership Cards were and always have been used -
- to this day -- in commerce only between and among members as an insignia of membership in
the Club of motorcycle enthusiasts, and not supplied whether by sale or otherwise to the public.
Barger. Upon creation of each Hells Angels Insignia, and before the corporation that is now
named the Hells Angels Motorcycle Corporation was formed, the Charter, not the individual
member or artist, owned all rights, title, and interest in and to the Hells Angels Insignia.

       As part of creating an identity for the Hells Angels Motorcycle Club, the officers of the
early California Charters, serving as a Board of Directors for the Club, established restrictive
guidelines that bound all the Charters and their members about whom could wear and display
Hells Angels Insignia. The only exception to these restrictive guidelines was the “81” symbol,
which the Hells Angels allows non-members to use as an indicia of support for the Hells Angels.




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       Although its name has changed over the years, the World Corp unequivocally and
without challenge exercises an unbroken chain of title and control of all the Hells Angels
Insignia and the HELLS ANGELS name, for the benefit of and in constructive trust for the Hells
Angels Motorcycle Club Charters and members around the world. The World Corp has
registered its trademark rights and copyrights in the Hells Angels Insignia in the United States,
Australia, the European Union, and many other countries around the world.

       At all times since the creation of any of the Hells Angels Insignia, the original Charters,
the Hells Angels Motorcycle Club, and the World Corp and its predecessors-in-interest have
imposed extremely restrictive guidelines that prohibit any and all copying or use of the Hells
Angels Insignia by anyone for any purpose other than to signify membership in the Club. Every
Club charter and member has been and is bound to these very restrictive rules. Distribution and
display of the Hells Angels Insignia, and licensed rights to create copies of the Hells Angels
Insignia, have been permitted only to Club Charters and members, and then for use only as an
indicia of membership. Neither the Club nor the Corporation has ever permitted the Hells
Angels Insignia to be published or used for any other purpose, except extremely limited
promotion of membership activities. There exist clear guidelines even for the symbol “81”
which does not signify membership in the Hells Angels, and so is permitted to be used by non-
members to signify support for the Hells Angels,

       Since then, the World Corp and its predecessors have exclusively owned all Hells Angels
Insignia, including any derivatives created nationally and internationally, and have exercised or
licensed all rights, title, and interests in and to the Hells Angels Insignia for and on behalf of the
Club membership, except during a brief period where the rights in some trademarks were
assigned into a Nevada nonprofit corporation, which was dissolved, and ownership of those
trademarks was later assigned back to World Corp. In countries where any Hells Angels Insignia
is registered in the name of an individual member or Charter, it is held in constructive trust for
and on behalf of the World Corp.

       The World Corp holds and manages all Hells Angels Insignia in accord with very
restrictive historically binding guidelines and decisions made by the World membership of the
Club. Its board of directors are elected by the World membership.




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       The World Corp owns and licenses the Hells Angels Insignia for the mutual benefit of
and use by the Club members, Charters, and the Club internationally, and not for private profit or
private benefit. It and the Club prohibit the use of the Hells Angels Insignia for or in connection
with any criminal activity or enterprise.

       With the exception of the trademark “81”, which designates support and supporters of the
Club, World Corp has always had (and still does have) extremely restrictive guidelines that
prohibit any and all copying, or use, or display of Hells Angels Insignia by anyone for any
purpose other than to signify membership in the Club. Every Club charter and member has been
and is bound to these very restrictive rules. Distribution of copies of the Hells Angels Insignia
(except for ‘81”), and licensed rights to create copies of Hells Angels Insignia (except for ‘81”)
have been permitted only to Club Members and then for use only as an indicia of membership in
the Club. In very limited circumstances, World Corp or its predecessors have permitted altered
Patches to be used in films or books about the Hells Angels or Hells Angels members.

       World Corp permits Charters around the world to create recognizable and official
derivatives of the Death Head for their geographic areas, but all such derivative versions are
subject to the same restrictive use and display guidelines as apply to the Fuki Death Head, the
Barger Larger, the Original Death Head, the Modified Original Death Head, and the Front
Facing Death Head, and all such derivative Death Heads are owned by World Corp or held by
licensed Charters or Members in constructive trust for and on behalf of World Corp.

       The World Corp’s Amended and Restated Articles of Incorporation provide that: “No
part of the net earnings of the corporation shall inure to the benefit of any member or private
shareholder, as defined for the purposes of Section 501(c)(7) of the Internal Revenue Code of
1954.” Amended and Restated Articles of Incorporation, Section 2.5




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REPRESENTATIVE REGISTRATIONS OF HELLS ANGELS INSIGNIA
     The World Corp owns or controls all copyrights, trademarks, and intellectual property
(“HAMC IP”) arising from or related to the Hells Angels Motorcycle Club internationally. Most
iconic among the HAMC IP are the following:

      Mark/Creative Work          Name                         Registration/Application No(s).

      HELLS ANGELS                               U.S.: 1943341 and 4525359
                                                 International Registration: 971196
                                                 Brazil: 812870468
                                                 Canada: TMA354187
                                                 EU: 454819
                                                 Italy: 864501
                                                 Norway: 201316
                                                 UK: UK00002279712, UK00001398846
                             Sideview Death      U.S.: 2588116
                             Head                Australia: 723463
                                                 UK: UK00002279711
                             Sideview Death      EU: 283044
                             Head                International Registration: 971198
                                                 Norway: 201264
                                                 UK: UK00001121251, UK00001396717
                             The Patch           U.S.: 5062349



                             Frontview           U.S.: 3666917
                             Death Head          EU: 297929
                                                 International Registration: 971199
                                                 Norway: 201265
                                                 UK: UK00001178037
                             Original Death      U.S.: 3040750
                             Head


                             Membership          U.S. Copyright Registration No. Vau001214935
                             Card



                             Fuki Death          U.S. Copyright Application filed September 18, 2015
                             Head


This “Definitive History: Evolution of The Hells Angels Motorcycle Club Insignia and Hells Angels
Motorcycle Corporation” was authored by Brooke Oliver, Attorney for the Hells Angels Motorcycle
Corporation, March 30, 2017, based on sworn Declarations.



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